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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District
                                              __________     of Columbia
                                                          District of __________


            UNITED STATEES OF AMERICA                          )
                                  Plaintiff                    )
                                     v.                        )      Case No.    1:21-cr-00036-CJN-1
                        GINA M. BISIGNANO                      )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Gina M. Bisignano                                                                                            .


Date:          07/21/2023                                                               /s/ Jonathan Aminoff
                                                                                         Attorney’s signature


                                                                                 Jonathan Aminoff CA SB#25290
                                                                                     Printed name and bar number
                                                                               Office of the Federal Public Defender
                                                                                     321 E 2nd St, Los Angeles
                                                                                           CA 90012-4202

                                                                                               Address

                                                                                     jonathan_aminoff@fd.org
                                                                                            E-mail address

                                                                                          (213) 894-5374
                                                                                          Telephone number

                                                                                          (213) 894-0310
                                                                                             FAX number
